          Case 2:09-cr-00427-RSM           Document 15        Filed 12/17/09      Page 1 of 2




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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. MJ09-594

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   NASEER MAHER HUSSAIN,
13
                                   Defendant.
14

15   Offense charged:
16          Possession of Ecstasy With Intent to Distribute, in violation of 21 U.S.C. §§ 841(a)(1),
17          841(b)(1)(C), and 18 U.S.C. § 2

18   Date of Detention Hearing: December 16, 2009
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20

21          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

23   defendant is a flight risk and a danger to the community based on the nature of the pending

24   charges. Application of the presumption is appropriate in this case.

25          (2)     Defendant has no ties to this community.

26          (3)     Defendant has joint Canadian/Pakistan citizenship.


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
          Case 2:09-cr-00427-RSM           Document 15         Filed 12/17/09     Page 2 of 2




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            (4)     The evidence against the defendant, although the least important 18 U.S.C. §
 2
     3142(g) detention factor, is strong. MDMA with a street value of $2,000,000 was seized from
 3
     the defendant’s vehicle.
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            (5)     Defendant has no real means of support.
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            (6)     There are no conditions or combination of conditions other than detention that
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     will reasonably ensure the appearance of the defendant.
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            IT IS THEREFORE ORDERED:
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            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
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                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
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                    counsel;
14
            (3)     On order of a court of the United States or on request of an attorney for the
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                    government, the person in charge of the corrections facility in which defendant
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                    is confined shall deliver the defendant to a United States Marshal for the
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                    purpose of an appearance in connection with a court proceeding; and
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            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
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            DATED this 17th day of December, 2009.


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                                                   JAMES P. DONOHUE
24                                                 United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
